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FoR THE WESTERN DISTRICT 0F T‘E,NI~IESSEE5 JUN 2, Fw `
WESTERN DIVISION d d w w s

 

  
 

    

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UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 05-2007B-Ml

TIFFANY MAXWELL

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, June 24, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
Date to Friday, August 26. 2005 at 9=00 a.m. with a trial date of
Tuesday, September 6, 2005 at 9:30 a.m.

The period from July 15, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

I'r rs so 0RDERED this the _£Q day of June, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

 
  
 
 
 

 

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Honorable J on McCalla
US DISTRICT COURT

